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  7
                               UNITED STATES DISTRICT COURT
  8                           CENTRAL DISTRICT OF CALIFORNIA
  9                                 WESTERN DIVISION

 10   Bryce Abbink, individually and on
 11   behalf of all others similarly situated,               Case No. 8:19-cv-01257-JFW-PJW
                                 Plaintiff,
 12                                                             JOINT CASE MANAGEMENT
 13   v.                                                        STATEMENT

 14   Experian Information Solutions, Inc.,                     Date: October 7, 2019
 15   an Ohio corporation, Lend Tech                            Time: 1:15 p.m.
      Loans, Inc., a California corporation,                    Judge: Hon. John F. Walter
 16                                                             Courtroom: 7A
      and Unified Document Services, LLC,
 17   a California Limited Liability                            Complaint Filed: June 21, 2019
      Company,
 18
                                 Defendants.
 19
            Plaintiff Bryce Abbink (“Plaintiff” or “Abbink”) and Defendant Experian
 20
      Information Solutions, Inc. (“Defendant” or “Experian”) jointly submit this Rule
 21
      26(f) Report pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, and this
 22
      Court’s standing order.
 23
            (1) the basis for the court's subject matter jurisdiction over plaintiff's
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      claims and defendant's counterclaims, whether any issues exist regarding
 25
      personal jurisdiction or venue, whether any parties remain to be served, and, if
 26
      any parties remain to be served, the date by which service will be completed
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 28
            Notice of Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
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  1   and an explanation as to why service has not been completed;
  2         The Court has subject matter jurisdiction under 28 U.S.C. § 1331 because
  3   this action arises under the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq.
  4   (“FCRA” or the “Act”), which is a federal statute. Plaintiff further asserts that the
  5   Court also has jurisdiction under the Class Action Fairness Act, 28 U.S.C. §
  6   1332(d), et seq. (“CAFA”), because the alleged classes each consist of over 100
  7   people, at least one member of each class is from a State other than California (the
  8   state of the Defendants), and the amounts in controversy are over $5,000,000. And
  9   none of the exceptions to CAFA jurisdiction apply.
 10         No issues exist regarding personal jurisdiction or venue. All of the defendants
 11   reside in this district, and all have been served. Defendants Lend Tech Loans, Inc.
 12   (“Lend Tech”) and Unified Document Services, LLC (“UDS”) were both served via
 13   the California Secretary of State by delivering the documents by hand on September
 14   16, 2019. Pursuant to Cal. Corp. Code §§ 1702 & 17701.16, the service is deemed
 15   complete on the tenth day after delivery of the process to the Secretary of Stat.
 16   Thus, Lend Tech and UDS will be deemed served on September 26, 2019.
 17         (2) Statement of facts and the principal factual issues in dispute;
 18         Plaintiff’s Position: This alleged class action challenges Experian’s sale of
 19   consumer reports to Lend Tech absent any permissible purpose. In or around
 20   January 2019, Lend Tech submitted a request to Experian to obtain information
 21   contained in Plaintiff’s consumer report for the purported purpose of making a firm
 22   offer of credit. In making the request, Lend Tech provided inaccurate information—
 23   including a nonworking telephone number and a business address that does not
 24   match its current address on its California business filing—and did not possess a
 25   proper financial license.
 26         On January 21, 2019, Experian sold a consumer report regarding Plaintiff
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                                     Joint Case Management Statement
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  1   Abbink to Lend Tech. In doing so, Experian failed to implement reasonable
  2   procedures to prevent the furnishing of consumer reports for impermissible
  3   purposes. Specifically, Experian failed to make a reasonable effort to verify the
  4   identity of Lend Tech and its purported purpose. Had Experian investigated Lend
  5   Tech and its purported purpose, it would have been aware that Lend Tech does not
  6   engage in mortgage lending and had no permissible purpose for obtaining Plaintiff’s
  7   consumer report. Further, in providing Plaintiff’s consumer report, Experian
  8   disclosed Plaintiff’s total outstanding federal student loan debt, which identifies his
  9   relationship with the U.S. Department of Education.
 10         Shortly after the sale of Plaintiff’s consumer report to Lend Tech, Lend Tech
 11   conveyed Plaintiff’s consumer report to UDS. UDS then used this information to
 12   target Plaintiff and members of the alleged classes with mailings that solicited them
 13   to purchase its “fee-based application assistance” service. Ultimately, the disclosure
 14   of Plaintiff’s federal student loan debt was used to solicit him to purchase UDS’s
 15   services, and his debt was prominently featured on the mailing.
 16         Defendant’s Position: Experian disputes Plaintiff’s allegations. Contrary to
 17   Plaintiff’s allegations, Experian thoroughly vetted Lend Tech Loans before
 18   allowing Lend Tech to purchase prescreen consumer reports. Lend Tech Loans was
 19   a licensed real estate broker and represented to Experian that it intended to obtain
 20   prescreen reports to issue firm offers of credit. Furthermore, Experian did not
 21   specifically report Plaintiff’s total federal student loan debt to Lend Tech Loans,
 22   and therefore did not identify Plaintiff’s relationship with any specific entity.
 23   Experian had no reason to believe that Lend Tech Loans (or UDS, for that matter)
 24   would use Plaintiff’s consumer report for a purportedly impermissible purpose.
 25         (3) a brief statement, without extended legal argument, of the disputed
 26   points of law, including reference to specific statutes and decisions;
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                                     Joint Case Management Statement
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  1         Plaintiff’s Position: First, Plaintiff contends that Experian violated 15 U.S.C.
  2   §§ 1681b(c)(1) and 1681e(a) by providing his consumer report to Lend Tech absent
  3   any permissible purpose. That is, Experian’s failure to verify Lend Tech’s
  4   identity—including its telephone number and address—and its failure to ensure that
  5   Lend Tech possessed the proper financial license to conduct its stated business
  6   purpose, demonstrates that Experian had no reason to believe a permissible purpose
  7   existed and that it lacked reasonable procedures to limit the furnishing of consumer
  8   reports for only permissible purposes. The Ninth Circuit has explained that “Section
  9   1681e requires more from a credit reporting agency than merely obtaining a
 10   subscriber’s general promise to obey the law.” Pintos v. Pacific Creditors Ass’n.,
 11   605 F.3d 665, 677 (9th Cir. 2010). “[T]he reporting agency must make ‘a
 12   reasonable effort’ to verify the certifications and may not furnish reports if
 13   ‘reasonable grounds’ exist to believe that reports will be used impermissibly.” Id.
 14   (citing 15 U.S.C. § 1681e(a)). Here, Experian merely accepted Lend Tech’s
 15   purported purpose at face value.
 16         Second, Plaintiff contends that Experian violated Section 1681b(c)(2) by
 17   disclosing his federal student loan debt to Lend Tech. Experian claims that because
 18   it did not disclose his relationship to a direct creditor it did not violate the FCRA. 15
 19   U.S.C. § 1681b(c)(2). However, in connection with a firm offer of credit, a
 20   consumer reporting agency may only provide limited information, and may not
 21   disclose information pertaining to a consumer that identifies his/her relationship or
 22   experience with respect to a particular creditor or other entity. See id. By disclosing
 23   his total outstanding federal student loan debt, Experian necessarily identified
 24   Plaintiff’s relationship with the Dept. of Education who is the exclusive
 25   administrator of repayment plans and guarantees his loans. Further, this is the exact
 26   information that was used to target Plaintiff by UDS.
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                                     Joint Case Management Statement
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  1         Defendant’s Position: Experian complied with its obligations under the
  2   FCRA. Experian had a permissible purpose to furnish Plaintiff’s consumer report to
  3   Lend Tech, “a person which it ha[d] reason to believe,” among other things,
  4   “intend[ed] to use the information” in connection with an unsolicited (i.e.,
  5   prescreen) credit transaction that “consists of a firm offer of credit,” id.
  6   § 1681b(c)(1)(B). More importantly, Plaintiff’s entire case is based on the faulty
  7   premise that Experian “willfully” violated the FCRA. Because Experian conducted
  8   significant due diligence on Lend Tech Loans and its permissible purpose, and had
  9   no reason to know that Lend Tech Loans would use Plaintiff’s consumer report for
 10   an impermissible purpose including transmitting Plaintiff’s information to UDS,
 11   Plaintiff’s permissible purpose claim fails. See Safeco Ins. Co. of Am. v. Burr, 551
 12   U.S. 47, 56-60 (2007). Finally, Experian did not provide Lend Tech Loans with
 13   Plaintiff’s total federal student loan debt. Thus, Experian did not violate 15 U.S.C.
 14   § 1681b(c)(2).
 15         (4) all prior and pending motions, their current status, and any
 16   anticipated motions;
 17         (a)    Pending Motions
 18         Experian’s Motion to Dismiss (dkt. 25) is the only pending motion. On
 19   September 12, 2019, the Court took the motion under submission and vacated the
 20   hearing scheduled for September 16, 2019. The Court has not yet issued a decision.
 21         (b)    Anticipated Motions
 22         Plaintiff’s Position: Plaintiff anticipates filing a motion for class certification
 23   on or before December 16, 2019. Plaintiff will likely file a motion for summary
 24   judgment following the close of discovery.
 25         Defendant’s Position: Experian anticipates filing a motion for summary
 26   judgment and opposing any motion for class certification.
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                                     Joint Case Management Statement
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  1         (5) the extent to which parties, claims, or defenses are expected to be
  2   added or dismissed and a proposed deadline for amending the pleadings;
  3         Plaintiff’s Position: Plaintiff anticipates the potential need to amend the
  4   pleadings to conform the class definition to information obtained during the
  5   discovery process. Plaintiff proposes that all motions to add parties and amend
  6   pleadings be filed on or before January 5, 2020. The deadline is 90 days after the
  7   date of the scheduling conference.
  8         Defendant’s Position: Experian will file an answer with affirmative defenses
  9   at the appropriate time if the Court does not grant its motion to dismiss. Experian
 10   does not object to Plaintiff’s proposed amendment deadline.
 11         (6) whether there has been full and timely compliance with the initial
 12   disclosure requirements of Fed. R. Civ. P. 26 and a description of the
 13   disclosures made;
 14         The Parties will exchange their initial disclosures on September 26, 2019.
 15         (7) discovery taken to date, the scope of anticipated discovery, any
 16   proposed limitations or modifications of the discovery rules, and a proposed
 17   discovery plan pursuant to Fed. R. Civ. P. 26(f);
 18         (a) Discovery Taken To Date;
 19         To date, Plaintiff has served his first set of written discovery requests upon
 20   Experian—including, interrogatories and requests for production. Experian served
 21   its responses to Plaintiff’s first set of discovery requests on August 28, 2019.
 22   Further, Plaintiff served his Rule 30(b)(6) Deposition Notice to Experian on August
 23   19, 2019. On August 30, 2019, Experian served a notice of deposition upon
 24   Plaintiff. The Parties are working together to schedule the depositions. Also, on
 25   September 13, 2019, Experian served its first set of discovery requests upon
 26   Plaintiff—including, interrogatories and requests for production.
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  1         (b)    Anticipated Scope of Discovery and Modification to Rules; and
  2         Plaintiff’s Position: Plaintiff does not propose any modifications beyond
  3   those imposed by the Federal Rules of Civil Procedure. Plaintiff anticipates
  4   discovery will be necessary regarding the following matters: the size and scope of
  5   the classes, Experian’s relationship and experience with Lend Tech and UDS, the
  6   relationship between Lend Tech and UDS, any agreements between the defendants,
  7   the actual business purpose of both Lend Tech and UDS, Lend Tech’s
  8   representations to Experian, Experian’s procedures in place to limit the furnishing
  9   of consumer reports for a permissible purpose, whether Experian’s actions
 10   constitute willful violations of the Act, and other matters that may arise.
 11         Defendant’s Position: Experian anticipates taking discovery on the basis of
 12   Plaintiff’s allegations, including Plaintiff’s relationship with and investigation of
 13   Lend Tech and UDS, if any; Plaintiff’s student loan history; Plaintiff’s alleged
 14   injuries; Lend Tech’s and UDS’s respective businesses and relationship with one
 15   another; and Lend Tech’s representations to Experian concerning its business and
 16   intended use of consumer reports. This case does not require modification of the
 17   default discovery limitations imposed by the Federal Rules of Civil Procedure at
 18   this time.
 19         (c)    Proposed Discovery Schedule.
 20         Given the complexity of the case and the high volume of discovery, the
 21   Parties respectfully requests an 8-month period to complete discovery, including 6
 22   months focused on fact discovery with the final 2 months focused on discovery
 23   related to any experts. To that end, the Parties propose the following discovery
 24   deadlines:
 25      • Deadline to Complete Fact Discovery: March 30, 2020;
 26      • Initial Expert Reports Due: April 6, 2020;
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                                     Joint Case Management Statement
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  1      • Rebuttal Expert Reports Due: April 20, 2020; and
  2      • Discovery Cut-Off: May 22, 2020.
  3   Discovery should proceed with both merits and class certification issues
  4   simultaneously.
  5         (8) any related cases or proceedings pending before another judge of this
  6   court, or before another court or administrative body;
  7         The Parties are unaware of any related cases or proceedings.
  8         (9) all relief sought by the complaint or counterclaim, including the
  9   amount of any damages sought and a description of the bases on which
 10   damages are calculated. In addition, any party from whom damages are sought
 11   must describe the bases on which it contends damages should be calculated if
 12   liability is established;
 13         Plaintiff’s Position: Plaintiff seeks an award of statutory damages for each
 14   willful violation of the FCRA on behalf of himself and all putative class members.
 15   Statutory damages under the FCRA range from $100 to $1,000 per violation. See 15
 16   U.S.C. § 1681n. Further, Plaintiff also seeks an award of reasonable attorneys fees
 17   and costs as provided for under the Act. See id.
 18         Defendant’s Position: Experian denies liability in this case. In the unlikely
 19   event liability is established, Experian maintains that each plaintiff should recover,
 20   at most, the minimum amount of statutory damages.
 21         (10) Certification as to Interested Parties or Persons
 22         Plaintiff’s Position: Plaintiff filed his Certification and Notice of Interested
 23   Parties on June 21, 2019 (dkt. 6), which are restated below:
 24      1. Woodrow & Peluso, LLC – Counsel for Plaintiff and the alleged Classes
 25      2. Aaron D. Aftergood – Counsel for Plaintiff and the alleged Classes
 26         Defendant’s Position: Experian filed its Notice of Interested Parties (ECF No.
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  1   29) on August 15, 2019. The following listed parties may have a pecuniary interest
  2   in the outcome of this case:
  3      1. Parent Companies: The ultimate parent company of Experian is Experian plc.
  4      2. Subsidiaries Not Wholly Owned: The following companies are US-based
  5         subsidiaries of Experian plc that are not wholly owned:
  6                (a)   Central Source LLC
  7                (b)   Online Data Exchange LLC
  8                (c)   New Management Services LLC
  9                (d)   VantageScore Solutions LLC
 10                (e)   Opt-Out Services LLC
 11      3. Publicly Held Companies: Experian plc owns 100 percent of Experian.
 12         Experian plc is registered as a public company in Jersey, Channel Islands,
 13         and is publicly traded on the London Stock Exchange.
 14         (11) an appropriate last date for the completion of discovery and the
 15   hearing of motions, a date for a final pretrial conference and a trial date;
 16   Consistent with the proposed schedule set forth above, the Parties propose the
 17   following deadlines:
 18      • Discovery Cut Off: May 22, 2020;
 19      • Last Hearing Date for All Motions: July 6, 2020;
 20      • Pretrial Conference: July 17, 2020; and
 21      • Trial Date: July 28, 2020.
 22         (12) whether the case will be tried to a jury or to the Court and a
 23   preliminary estimate of the time required for trial;
 24         Plaintiff has made a proper jury demand. The Parties expect that trial in this
 25   case will take approximately 4-5 days.
 26         (13) efforts made to settle or resolve the case to date, and the parties’
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                                     Joint Case Management Statement
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  1   views as to an appropriate plan for maximizing settlement prospects;
  2         The Parties have discussed the possibility of settlement. At this time, the
  3   Parties do not request Court assistance with settlement talks.
  4         (14) whether the case is complex or requires reference to the procedures
  5   set forth in the Manual on Complex Litigation;
  6         Plaintiff’s Position: This case is complex based on the discovery that will be
  7   necessary. The discovery process is likely to involve a high volume of documents, a
  8   large number of parties (including third parties), and a fair amount of electronic
  9   discovery that may require the assistance of an expert. Such complexities weigh in
 10   favor of granting a longer discovery schedule.
 11         Defendant’s Position: Experian does not believe this case is complex.
 12         (15) what motions the parties are likely to make that may be dispositive
 13   or partially dispositive;
 14         Plaintiff’s Position: Plaintiff anticipates that a motion for summary judgment
 15   may be appropriate regarding the following issues:
 16         (1)    Whether Experian violated 15 U.S.C. § 1681b(c)(1) by selling
 17                Plaintiff’s consumer report to Lend Tech;
 18         (2)    Whether Experian violated 15 U.S.C. § 1681e(a) by failing to
 19                implement reasonable procedures to limit the furnishing of consumer
 20                reports for permissible purposes;
 21         (3)    Whether Experian violated 15 U.S.C. § 1681b(c)(2) by providing Lend
 22                Tech with Plaintiff’s total federal student loan debt; and
 23         (4)    Whether Experian’s actions constitute willful violations of the Act.
 24         Defendant’s Position: Experian anticipates filing a motion for summary
 25   judgment on all Plaintiff’s claims.
 26         (16) any unusual legal issues presented by the case;
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  1         The Parties are unaware of any unusual legal issues presented by the case.
  2         (17) proposals regarding severance, bifurcation, or other ordering of
  3   proof;
  4         The Parties respectfully request that the Court extend the deadline for
  5   Plaintiff to file his Motion for Class Certification (due on or before December 16,
  6   2019) until after the close of fact discovery. The anticipated discovery in this case
  7   contains significant overlap between what may be considered traditional “merits”
  8   and “class” issues. With the present deadline, the Parties are essentially forced to
  9   bifurcate the discovery process. Specifically, the depositions of Experian’s Rule
 10   30(b)(6) representative and Plaintiff will likely need to be scheduled prior to the
 11   motion for class certification deadline. Moreover, given the substantial overlap, this
 12   likely means that the Parties will be required to conduct a majority of the discovery
 13   prior to class certification deadline. Alternatively, extending the deadline would
 14   promote the interests of judicial economy by allowing the Court to make an
 15   informed decision following the completion of all fact discovery.
 16         (18) Alternative Dispute Resolution; and
 17         The Parties propose ADR Procedure No. 3 – private mediation. The private
 18   mediation should occur on or before April 30, 2020.
 19         (19) Certifications of Lead Trial Counsel
 20         Plaintiff’s Position: Taylor T. Smith is the lead trial counsel for Plaintiff. Mr.
 21   Smith is a registered ECF User and his email address is
 22   tsmith@woodrowpeluso.com. Further, on July 18, 2019, Mr. Smith filed his
 23   declaration of lead trial counsel. (Dkt. 22.)
 24         Defendant’s Position: Ryan D. Ball is the lead trial counsel for Experian. Mr.
 25   Ball is a registered ECF User and his email address is rball@jonesday.com. On July
 26   25, 2019, Experian filed its declaration of lead trial counsel. (ECF No. 23.)
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                                     Joint Case Management Statement
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  1                                         Respectfully submitted,
  2
      Dated: September 23, 2019             By:        /s/ Taylor T. Smith
  3

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 11
                                            *Pro Hac Vice
 12
                                            Attorney for Plaintiff Bryce Abbink
 13                                         and the Classes

 14
      Dated: September 23, 2019             By:        /s/ Justin A. Potesta
 15
                                            Richard J. Grabowski
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 20                                         Experian Information Solutions, Inc.
 21

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  1                           SIGNATURE CERTIFICATION
  2         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby certify that Defendant’s
  3   counsel concurs with the content of this document and has authorized me to affix
  4   his signature to the document and file the same with the Court.
  5                                          /s/ Taylor T. Smith
  6

  7
                               CERTIFICATE OF SERVICE
  8
            The undersigned hereby certifies that a true and correct copy of the above
  9
      titled document was served upon counsel of record by filing such papers via the
 10
      Court’s ECF system on September 23, 2019.
 11
                                             /s/ Taylor T. Smith
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